                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


 WHOLE WOMAN’S HEALTH, et al.,

        Plaintiffs,

        v.                                                     Civil Action No.: 1:21-cv-00616-RP

 AUSTIN REEVE JACKSON, in his official capacity as
 Judge of the 114th District Court, and on behalf of a
 class of all Texas judges similarly situated, et al.,

        Defendants.




PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO STAY PROCEEDINGS
           AND VACATE PRELIMINARY-INJUNCTION HEARING


       Plaintiffs respectfully request that the Court deny Defendants’ motion; make a written

certification finding that Defendants’ interlocutory appeal of the Court’s August 25 Order is both

frivolous and dilatory; and proceed to resolve Plaintiffs’ fully briefed Motion for a Temporary

Restraining Order and Preliminary Injunction. Given Defendants’ Notice to the Court stating that

they intend to seek emergency relief from the Fifth Circuit if this Court does not cancel the

preliminary-injunction hearing and vacate all deadlines by the close of business today, Plaintiffs

respectfully request that this Court certify the interlocutory appeal as frivolous and dilatory before

the close of business today.

       Generally, only final decisions are appealable, and “the denial of a motion to dismiss is not

a final decision.” Newball v. Offshore Logistics Int’l, 803 F.2d 821, 824 (5th Cir. 1986). Even

interlocutory orders that are subject to an appeal (such as preliminary injunction orders under 28

U.S.C. 1292(a)(a)) do not warrant a stay of district-court proceedings. And although the collateral-


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order doctrine permits the appeal of orders denying a sovereign-immunity defense, even in that

circumstance, the filing of a notice of appeal does not necessarily divest a district court of

jurisdiction to continue proceedings, including preliminary-injunction proceedings. District courts

can “retain jurisdiction despite the filing of an interlocutory appeal” from a denial of sovereign

immunity “so long as they certify that the appeal is frivolous or dilatory.” BancPass, Inc. v.

Highway Toll Admin., L.L.C., 863 F.3d 391, 399 (5th Cir. 2017). The certification must be in

writing and include an “express finding of frivolousness.” Id. at 400; see also Goshtasby v. Bd. of

Trs. of Univ. of Ill., 123 F.3d 427, 428–29 (7th Cir. 1997) (stay is required only where the defendant

takes an interlocutory appeal to assert a “colorable” and “not frivolous” claim of immunity); Hyde

v. Stanley Tools, No. CIV.A. 98-2757, 2000 WL 365585, at *2 (E.D. La. Apr. 10, 2000) (district

court not divested of jurisdiction to proceed to trial as scheduled where district court certified the

interlocutory appeal as frivolous).

       Plaintiffs respectfully ask this Court to make that certification, as needed, here and proceed

to decide the pending preliminary-injunction motion. As a private citizen, Defendant Dickson has

no claim to sovereign immunity, and he has never even asserted such immunity in this case. The

Fifth Circuit thus plainly lacks jurisdiction over his interlocutory appeal from a motion to dismiss,

and even if it did not, there is no basis for staying district court proceedings against him. Although

Plaintiffs believe this Court may proceed against Dickson without the certification described

above, his appeal here in any event would clearly constitute frivolous and dilatory action.

       The other Defendants’ appeal is also frivolous and dilatory, and this Court should make a

finding to that effect. The only aspect of the Court’s August 25 Order that can be appealed now

is the denial of the Defendants’ claims of sovereign immunity. See Puerto Rico Aqueduct & Sewer

Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 147 (1993). Clarkston, Judge Jackson, and the State




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Agency Defendants have no colorable claim to sovereign immunity; their assertion otherwise is

“frivolous [because] the result is obvious [and] the arguments of error are wholly without merit.”

Coghlan v. Starkey, 852 F.2d 806, 811–12 (5th Cir. 1988) (noting an appeal can be “patently

frivolous, even if the original [argument], arguendo, was not entirely devoid of colorable merit”).

        At bottom, Defendants’ appeals are yet another transparent attempt to block this Court from

acting to prevent severe and irreparable harm on September 1 if Senate Bill 8 takes effect. Their

claim to have divested this Court of jurisdiction to preserve sovereign immunity—including for a

private citizen who never claimed such immunity and a county clerk who has provided no

independent argument to justify such immunity—should be rejected quickly so that this Court can

consider the pending motion for a preliminary injunction and Plaintiffs may adequately vindicate

their rights and those of pregnant Texans.

        A.      The State Agency Defendants Have No Colorable Claim to Sovereign
                Immunity

        “[T]he Eleventh Amendment does not bar suits for injunctive or declaratory relief against

individual state officials acting in violation of federal law.” City of Austin v. Paxton, 943 F.3d

993, 1004 (5th Cir. 2019) (quotation marks and citation omitted). Ex parte Young “allows

plaintiff[s] to sue a state official, in his official capacity, in seeking to enjoin enforcement of a state

law that conflicts with federal law.” Air Evac EMS, Inc. v. Tex., Dep’t of Ins., Div. of Workers’

Comp., 851 F.3d 507, 515 (5th Cir. 2017).               The Ex parte Young exception involves a

“straightforward inquiry.” Green Valley Special Util. Dist. v. City of Schertz, 969 F.3d 460, 471

(5th Cir. 2020) (en banc). This inquiry asks (1) whether “the complaint alleges an ongoing

violation of federal law and seeks relief properly characterized as prospective” and (2) whether

“the official in question has a sufficient connection to the enforcement of the challenged act.” City

of Austin, 943 F.3d at 998 (quotation marks and brackets omitted) (quoting Verizon Md., Inc. v.



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Pub. Serv. Comm’n of Md., 535 U.S. 635, 645 (2002)); see also Planned Parenthood Gulf Coast,

Inc. v. Phillips, No. 18-30699, --- F.4th ---, 2021 WL 2980702, at *7 (5th Cir. July 15, 2021).

       The State Agency Defendants are plainly state officials sued in their official capacity. And

the sole relief being sought against them is prospective relief for ongoing violations of federal law.

See Compl. 46–47 (Request for Relief). Plaintiffs’ claims against the State Agency Officials thus

satisfy Ex parte Young “[o]n [their] face.” Green Valley, 969 F.3d at 472.

       These defendants also are clearly connected to enforcement of S.B. 8 by virtue of their

offices and their obligations under state law. The requirement of a connection to the challenged

statute’s enforcement is not stringent; the Fifth Circuit has explained that “[a] scintilla of

enforcement by the relevant state official with respect to the challenged law will do.” Tex. Dem.

Party v. Abbott, 978 F.3d 168, 179 (5th Cir. 2020) (citation and internal quotation marks omitted),

cert. denied, 141 S. Ct. 1124 (2021). “‘Enforcement’ typically involves compulsion or constraint.”

K.P. v. LeBlanc, 627 F.3d 115, 124 (5th Cir. 2010). The Fifth Circuit has also made it crystal clear

that for the Ex parte Young exception to apply, “direct enforcement of the challenged law [is] not

required: actions that constrain[] the plaintiffs [are] sufficient to apply the Young exception.” City

of Austin, 943 F.3d at 1001.

       The State Agency Defendants plainly have the authority to constrain Plaintiffs through

other state laws. As this Court explained, while the State Agency Defendants “are precluded from

enforcing S.B. 8 Section 3 through the private enforcement mechanism created under the law,

nowhere does S.B. 8 indicate that it refers to the provisions of the Medical Practice Act, Nursing

Practice Act, and Pharmacy Act or the State’s ability to enforce such provisions under Chapter

171.” Order at 16, ECF No. 82.

       This Court had no trouble rejecting out of hand the State Agency Defendants’ argument




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that they lacked a demonstrated willingness to enforce other state laws triggered by S.B. 8

violations. Id. at 16–17. As the Court explained, while some of the disciplinary and civil actions

are discretionary, “others are mandatory.” Id. at 16 (emphasis added). For instance, Texas

physicians (and/or their insurers) must report to the Texas Medical Board the filing of any health-

care-related lawsuit against them. Tex. Occ. Code §§ 160.052–.053; 22 Tex. Admin Code

§ 176.2(a)(3). The Texas Medical Board must then investigate and “shall . . . review the medical

competency” of licensees who have been named in three or more such lawsuits within a five-year

period. 22 Tex. Admin. Code § 176.8(b) (emphasis added). That alone clearly places the Texas

Medical Board within the Ex parte Young exception, and Defendants have never had any response

to this.

           Moreover, with respect to S.B. 8’s fee-shifting provision, Section 4, S.B. 8 expressly

authorizes each of the State Agency Defendants to seek fees if any claim against them that

challenges an abortion restriction is dismissed, regardless of reason. See S.B. 8 § 4 (to be codified

at Tex. Civ. Prac. & Rem. Code § 30.022(a), (b)(1)). Under Ex parte Young and its progeny, that

connection to enforcement of S.B. 8 is plainly more than enough to satisfy the requirement of some

scintilla of enforcement. There is no non-frivolous argument to the contrary.

           B.     Clarkston Has No Colorable Claim to Sovereign Immunity

           Clarkston has no non-frivolous argument that she is entitled to sovereign immunity, an

argument that she has never even articulated on her own behalf. See Order at 33 n.19 (“Clarkston

argues that she is also entitled to sovereign immunity by adopting the arguments of her co-

Defendants without further elaboration.”).

           Clarkston has contended that in her role as a county official, she performs a state function

by enforcing state law or policy. See Clarkston MTD 17, ECF No. 51. If correct, she falls within

the Ex parte Young exception because Plaintiffs allege that S.B. 8 is unconstitutional, and thus the


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performance of clerks’ duties with respect to S.B. 8 enforcement actions would be an ongoing

violation of federal law. See Green Valley, 969 F.3d at 472–73 & n.22. And the sole relief being

sought here is prospective equitable relief. Compl. 46–47 (Request for Relief). Because Plaintiffs

“request[] relief prospectively requiring” the Defendant class of clerks “to refrain from taking

future actions to enforce an unlawful” law, their request satisfies Ex parte Young “[o]n its face.”

Green Valley, 969 F.3d at 472.

        Alternatively, if as a county official Clarkston is not serving in a state role, she has no

entitlement to sovereign immunity. See Cutrer v. Tarrant Cnty. Loc. Workforce Dev. Bd., 943

F.3d 265, 270 (5th Cir. 2019). Either way, she clearly lacks immunity.

        Clarkston is also plainly connected to S.B. 8’s enforcement by virtue of her office.

Clarkston conceded that petitions seeking enforcement of S.B. 8 will be “filed with the clerk” who

will open the action and keep the docket. Clarkston MTD 2, ECF No. 51 (citing Tex. R. Civ. P.

22, 24–26). The clerk then “‘shall forthwith issue a citation’” which is “similar to a summons in

federal court.” Id. at 2–3 (quoting Tex. R. Civ. P. 99(a)). Citations “direct the defendant to file a

written answer to the plaintiff’s petition” for enforcement and notify them that failure to respond

may result in a default judgment. Tex. R. Civ. P. 99(b). Clerks’ authority to issue citations

ordering responses to S.B. 8 enforcement petitions under threat of default judgment—responses

that Plaintiffs allege present a constitutional violation in and of themselves, see Order at 30—is

indisputably compulsive authority connected to S.B. 8’s enforcement.

        Fifth Circuit decisions are very clear that it makes no difference that the clerks’ duty with

respect to S.B. 8 arises from other state laws rather than from S.B. 8 directly. Whether the duty

“‘arises out of the general law, or is specially created by the act itself, is not material so long as it

exists.’” K.P., 627 F.3d at 124 (quoting Ex parte Young, 209 U.S. at 157); see also Okpalobi v.




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Foster, 244 F.3d 405, 419 (5th Cir. 2001) (en banc) (lead plurality opinion) (enforcement power

“can be found implicitly elsewhere in the laws of the state, apart from the challenged statute”).

Thus, “[c]ourts often have allowed suits to enjoin the performance of ministerial duties in

connection with allegedly unconstitutional laws.” Order at 34 (quoting Finberg v. Sullivan, 634

F.2d 50, 54 (3d Cir. 1980) (en banc)).

        As this Court found, Defendant Clarkston and the putative class of clerks will play an

essential role in compelling compliance with S.B. 8. Her appeal of this Court’s ruling on sovereign

immunity, see id. at 33 n.19—an argument for which she failed to proffer any basis of her own—

is frivolous.

        C.      Judge Jackson Has No Colorable Claim to Sovereign Immunity

        Judge Jackson likewise has no colorable claim to sovereign immunity. Judge Jackson is a

state official sued in his official capacity. Plaintiffs’ request for prospective relief requiring the

Defendant class of judges “to refrain from taking future actions to enforce an unlawful” law

likewise satisfies Ex parte Young “[o]n its face.” Green Valley, 969 F.3d at 472; see also Warnock

v. Pecos Cnty., 88 F.3d 341, 343 (5th Cir. 1996) (claims against Texas judges seeking prospective

relief against violations of federal law are not barred by sovereign immunity).

        The “connection” prong of the Ex parte Young standard is also easily met, and there is no

colorable argument to the contrary. See Air Evac EMS, 851 F.3d at 517; K.P., 627 F.3d at 124.

Judge Jackson and the other members of the Defendant class of judges are the public officials the

Texas Legislature made responsible for, among other things, directly issuing the coercive sanctions

under S.B. 8. If S.B. 8 is violated, judges in enforcement proceedings “shall award” “injunctive

relief sufficient to prevent” future violations, as well as monetary penalties of “not less than

$10,000 for each abortion” performed in violation of S.B. 8 and “costs and attorney’s fees.” S.B. 8

§ 3 (to be codified at Tex. Health & Safety Code § 171.208(b)). Those are indisputably acts of


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coercive enforcement that place Judge Jackson easily within the Ex parte Young exception to

sovereign immunity.

       In their motions to dismiss, Defendants pointed to a passage in Ex parte Young suggesting

that federal courts do not have “the power to restrain a [state] court from acting in any case brought

before it.” Jackson MTD 7, ECF No. 49 (emphasis omitted) (quoting Ex parte Young, 209 U.S.

123, 163 (1908)). But as this Court explained, Defendants were ignoring “more recent precedent”

making it abundantly clear that judges can be sued under Section 1983 and Ex parte Young. Order

at 34, ECF No. 82 (discussing, e.g., Sup. Ct. of Va. v. Consumers Union of U.S., Inc., 446 U.S.

719, 736–37 (1980)); see also Mitchum v. Foster, 407 U.S. 225, 234 (1972) (“[T]he Court through

the years found that federal courts were empowered to enjoin state court proceedings . . . .”);

Warnock, 88 F.3d at 343 (claims against Texas judges not barred by sovereign immunity).

Moreover, Plaintiffs explained (ECF No. 62 at 35)—and Defendants never contested—that the

passage of Ex parte Young on which Defendants relied is in a portion of the Court’s discussion

that does not involve sovereign immunity. See Ex parte Young, 209 U.S. at 163; see also Green

Valley, 969 F.3d at 496 (Oldham, J., concurring) (discussing two separate parts and holdings of Ex

parte Young).

       As this Court concluded, judges’ “enforcement role in S.B. 8’s private enforcement

mechanism brings them within the carveouts courts have created to allow Section 1983 challenges

to laws to proceed against state court officials under the Ex Parte Young exception to sovereign

immunity.” Order at 35, ECF No. 82. Judge Jackson has no non-frivolous argument to the

contrary.1



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         The Fifth Circuit will not review Judge Jackson’s reliance on Bauer v. Texas, 341 F.3d
352 (5th Cir. 2003), in his interlocutory appeal because that is an argument about standing, and it



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       D.      The Fifth Circuit Lacks Jurisdiction Over Dickson’s Appeal, and Even If It
               Did Not, This Court Plainly Has Jurisdiction to Proceed

       The Fifth Circuit has no appellate jurisdiction to review this Court’s denial of Dickson’s

motion to dismiss. Dickson, a private citizen, has no claim to sovereign immunity. Indeed, in his

motion to dismiss, Dickson never asserted that he had sovereign immunity. He argued only that

Plaintiffs lack standing to sue him. The denial of a motion to dismiss on a ground other than

immunity is not immediately appealable, Newball, 803 F.2d at 824, nor has Dickson attempted to

move this Court for certification of appeal from that order under 28 U.S.C. § 1292(b). Dickson

therefore has no right to immediately appeal from this Court’s August 25 Order.

       Nor can Dickson piggyback off the other Defendants’ appeals. The Supreme Court has

held that “there is no ‘pendent party’ appellate jurisdiction.” Swint v. Chambers Cnty. Comm’n,

514 U.S. 35, 51 (1995). Because Dickson has no right to immediately appeal, the Fifth Circuit

lacks jurisdiction to consider the denial of his motion to dismiss. And even if it did not, there is

no impediment to this Court’s continuing exercise of its jurisdiction. See Wright & Miller,

Interlocutory Injunction Appeals—Trial Court Action Pending Appeal, 16 Fed. Prac. & Proc. Juris.

§ 3921.2 (3d ed. 2008); see also La. State Conf. of NAACP v. Louisiana, 495 F. Supp. 3d 400,

416–20 (M.D. La. 2020) (certifying order for interlocutory appeal under 28 U.S.C. § 1292(b) but

denying motion to stay district court proceedings).

       Thus, this Court could deny the motion to stay on Dickson’s behalf without more; however,

to protect its future rulings from collateral attacks by Dickson, it may wish to include in its denial

of the stay a finding that, to the extent such certification is necessary, Dickson’s appeal is also


is not inextricably intertwined with sovereign immunity. “Following Swint, [the Fifth Circuit] has
held that, ‘[pendent] appellate jurisdiction is only proper in rare and unique circumstances where
a final appealable order is inextricably intertwined with an unappealable order or where review of
the unappealable order is necessary to ensure meaningful review of the appealable order.’” Byrum
v. Landreth, 566 F.3d 442, 449 (5th Cir. 2009) (citations omitted).


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frivolous and dilatory.

                                         CONCLUSION

       Plaintiffs respectfully request that the Court (1) make a written certification with an express

finding that Defendants’ appeal of the Court’s August 25 Order is frivolous and dilatory, (2) deny

Defendants’ motion to stay, and (3) proceed to decide Plaintiffs’ pending and fully briefed motion

for a preliminary injunction.




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Dated: August 26, 2021

Respectfully submitted,

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                                CERTIFICATE OF SERVICE


       I certify that on this 26th day of August 2021, I electronically filed a copy of the above

document with the Clerk of the Court using the CM/ECF system.


                                                      _/s/ Marc Hearron              ___________
                                                      Marc Hearron
